Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 1 of 73. PageID #: 89965




                       EXHIBIT 1
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 2 of 73. PageID #: 89966
   Highly Confidential - Subject to Further Confidentiality Review

    0    01


    2                 IN THE UNITED STATES DISTRICT COURT
    3                  FOR THE NORTHERN DISTRICT OF OHIO
    4                             EASTERN DIVISION
    5         -----------------------------x
              IN RE: NATIONAL PRESCRIPTION             MDL No. 2804
    6         OPIATE LITIGATION,
                                                       Case No. 17-MD-2804
    7         This document relates to:
    8         All Cases                                Hon. Dan A. Polster
    9         -----------------------------x
   10                        * HIGHLY CONFIDENTIAL*
   11         * SUBJECT TO FURTHER CONFIDENTIALITY REVIEW                  *
   12                         VIDEOTAPED DEPOSITION
   13                                     OF
   14                            LACEY R. KELLER
   15                          New York, New York
   16                        Thursday, June 13, 2019
   17

   18

   19

   20

   21

   22
   23

              Reported by:
   24         ANNETTE ARLEQUIN, CCR, RPR, CRR, RSA
   25

  Golkow Litigation Services                                                Page 1
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 3 of 73. PageID #: 89967
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2

    3

    4

    5                                    June 13, 2019

    6                                    9:10 a.m.

    7


    8                      HIGHLY CONFIDENTIAL - SUBJECT TO

    9                 FURTHER CONFIDENTIALITY REVIEW

   10                videotaped deposition of LACEY R.

   11                 KELLER, held at the offices of

   12                 KIRKLAND    &   ELLIS LLP, 601 Lexington

   13                Avenue, New York, New York, pursuant to

   14                Notice, before Annette Arlequin, a

   15                 Certified Court Reporter, a Registered

   16                 Professional Reporter, a Realtime

   17                 Systems Administrator, a Certified

   18                Realtime Reporter, and a Notary Public

   19                 of the State of New York and New

   20                 Jersey.

   21

   22

   23

   24

   25

 Golkow Litigation Services                                                 Page 2
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 4 of 73. PageID #: 89968
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        APPEARANCES:

    3


    4        SIMMONS HANLY CONROY LLC

    5        Counsel for Plaintiffs

    6              112 Madison Avenue, 7th floor

    7              New York, New York         10016-7416

    8        BY: JAYNE CONROY, ESQ.

    9               JConroy@simmonsfirm.com

   10        BY: LAURAL. FITZPATRICK, ESQ.

   11              Lfitzpatrick@simmonsfirm.com

   12                     - and -

   13        MOTLEY RICE LLC

   14        Counsel for Plaintiffs

   15              28 Bridgeside Boulevard

   16              Mt. Pleasant, South Carolina             29464

   17        BY: JAMES W. LEDLIE, ESQ.

   18              Jledlie@motleyrice.com

   19

   20

   21

   22

   23

   24

   25

  Golkow Litigation Services                                                Page 3
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 5 of 73. PageID #: 89969
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        APPEARANCE S(Cont'd.):

    3


    4         KIRKLAND    &       ELLIS LLP

    5         Counsel for Allergan Finance

    6              1301 Pennsylvania Avenue, N.W.

    7              Washington, D.C. 20004

    8        BY: JENNIFER LEVY, ESQ.

    9              Jennifer.levy@kirkland.com

   10        BY: CATIE VENTURA, ESQ.

   11              Catie.ventura@kirkland.com

   12

   13        O'MELVENY & MYERS LLP

   14         Counsel for Janssen Pharmaceutical and

   15           Johnson       &    Johnson

   16              1999 Avenue of the Stars - 8th Floor

   17              Los Angeles, California           90067-6035

   18        BY: AMY R. LUCAS, ESQ.

   19              Alucas@omm.com

   20        BY: J. KEITH KOBYLKA, ESQ.

   21               (Telephonically/realtime stream)

   22

   23

   24

   25

  Golkow Litigation Services                                                Page 4
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 6 of 73. PageID #: 89970
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        APPEARANCE S(Cont'd.)

    3


    4        MORGAN LEWIS      &   BOCKIUS LLP

    5        Counsel for Teva, Cephalon and Actavis

    6              1701 Market Street

    7              Philadelphia, Pennsylvania            19103-2921

    8        BY: ADAM HAMMOUD, ESQ.

    9              Adam.hammoud@morganlewis.com

   10

   11        ARNOLD    &   PORTER KAYE SCHOLER LLP

   12        Counsel for Endo Health Solutions Endo

   13           Pharmaceuticals, Inc.; Par Pharmaceutical

   14           Companies, Inc. f/k/a Par Pharmaceutical

   15           Holdings, Inc.

   16              601 Massachusetts Avenue N.W.
   17              Washington, D.C.         20001-3743

   18        BY: JOANNA PERSIO, ESQ.

   19              Joanna.persio@arnoldporter.com
   20

   21

   22

   23

   24

   25

  Golkow Litigation Services                                                Page 5
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 7 of 73. PageID #: 89971
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        APPEARANCE S(Cont'd.)

    3        DECHERT LLP

    4        Counsel for Purdue Pharmaceuticals

    5              Three Bryant Park

    6              1095 Avenue of the Americas

    7              New York, New York         10036-6797

    8        BY: DEBRA D. O'GORMAN, ESQ.

    9              Debra.ogorman@dechert.com

   10

   11         ZUCKERMAN SPAEDER LLP

   12        Counsel for CVS Indiana, LLC and CVS RX

   13           Services, Inc.

   14              1800 M Street N.W. - Suite 1000

   15              Washington, D.C.         20036-5807

   16        BY: PAUL B. HYNES, JR., ESQ.

   17              Phynes@zuckerman.com

   18

   19        MORGAN LEWIS       &   BOCKIUS LLP

   20         Counsel for Rite Aid of Maryland

   21              1701 Market Street

   22              Philadelphia, Pennsylvania             19103-2921

   23        BY: JOHN P. LAVELLE, JR., Partner

   24              John.lavelle@morganlewis.com

   25

  Golkow Litigation Services                                                Page 6
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 8 of 73. PageID #: 89972
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        APPEARANCE S(Cont'd.):

    3        ROPES    &   GRAY LLP

    4        Counsel for Mallinckrodt

    5              Prudential Tower

    6              800 Boylston Street

    7              Boston, Massachusetts           02199

    8        BY: JOSH GOLDSTEIN, ESQ.

    9              Joshua.goldstein@ropesgray.com

   10        BY: FEIFEI (ANDREA) REN, ESQ.

   11              Andrea.Ren@ropesgray.com

   12

   13        COVINGTON      &   BURLING LLP

   14        Counsel for McKesson

   15              One CityCenter

   16              850 Tenth Street, N.W.

   17              Washington D.C. 20001-4956

   18        BY: CLAIRE CATALANO DEAN, ESQ.

   19              ccdean@cov.com

   20

   21

   22

   23

   24

   25

  Golkow Litigation Services                                                Page 7
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 9 of 73. PageID #: 89973
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        APPEARANCE S(Cont'd.):

    3         BARTLIT BECK LLP

    4         Counsel for Walgreens

    5              54 West Hubbard Street - Suite 300

    6              Chicago, IL 60654

    7         BY: PETER B. BENSINGER, JR., ESQ.

    8              Peter.bensinger@bartlitt-beck.com

    9               (Telephonically/realtime stream.)

   10

   11         FOLEY LARDNER LLP

   12         Counsel for Anda, Inc.

   13              111 Huntington Avenue - Suite 2500

   14              Boston, MA 02199-7610

   15         BY: GRAHAM D. WELCH, ESQ.

   16              Gwelch@foley.com

   17               (Telephonically/realtime stream.)

   18

   19         BARNES   &   THORNBURG LLP

   20         Counsel for H.D. Smith

   21              11 S~jth Meridian Street

   22              Indianapolis Indiana          46204-3535

   23         BY: KATHLEEN L. MATSOUKAS, ESQ.

   24              Kathleen.matsoukas@btlaw.com

   25               (Telephonically/realtime stream.)

  Golkow Litigation Services                                                Page 8
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 10 of 73. PageID #: 89974
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        APPEARANCE S(Cont'd.)

     3


     4        LOCKE LORD LLP

     5        Counsel for Henry Schein, Inc. and

     6            Henry Schein Medical Systems, Inc.

     7              2200 Ross Avenue - Suite 2800

     8             Dallas, Texas        75201

     9        BY: BRANDAN MONTMINY, ESQ.

    10             Brandan.montminy@lockelord.com

   11               (Telephonically/realtime stream.)

    12

   13         ALSO PRESENT:

    14

    15        VINCE ROSICA, Golkow, Legal Video Specialist

    16        DAN LAWLOR, Golkow, Legal Video Specialist

    17

    18

    19

    20

    21

    22

    23

    24

    25

  Golkow Litigation Services                                                 Page 9
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 11 of 73. PageID #: 89975
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                      IT IS HEREBY STIPULATED AND

     3               AGREED by and between the attorneys for

     4               the respective parties herein, that

     5               filing and sealing be and the same are

     6               hereby waived;

     7                      IT IS FURTHER STIPULATED AND

     8               AGREED that all objections, except as

     9               to the form of the question, shall be

    10               reserved to the time of the trial;

    11                      IT IS FURTHER STIPULATED AND

    12               AGREED that the within deposition may

    13               be sworn to and signed before any

    14               officer authorized to administer an

    15               oath, with the same force and effect as

    16               if signed and sworn to before the

    17               Court.

    18

    19                                    - oOo -

    20

    21

    22

    23

    24

    25

  Golkow Litigation Services                                               Page 10
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 12 of 73. PageID #: 89976
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                      THE VIDEOGRAPHER:         We are now on

     3               the record.       My name is Vince Rosica.

     4               I'm a videographer for Golkow

     5               Litigation Services.

     6                      Today's date is June 13, 2019,

     7               and the time is 9:10 a.m.

     8                      This video deposition is being

     9               held in New York, New York, in the

   10                matter of National Prescription Opiate

   11                Litigation, MDL No. 2804, for the

   12                United States District Court for the

   13                Northern District of Ohio, Eastern

   14                Division.

   15                       The deponent is Lacey Keller.

   16                       Counsel will be noted on the

   17                stenographic record.

   18                       The court reporter is Annette

   19                Arlequin and will now swear in the

   20                witness.

   21                       *              *              *
   22         L A C E Y         R.   KELLER,             called as a

   23                 witness, having been duly sworn by a

   24                 Notary Public, was examined and

   25                 testified as follows:

  Golkow Litigation Services                                               Page 11
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 13 of 73. PageID #: 89977
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                      THE WITNESS:       I do.

     3                      Lacey Rae Keller.

     4        EXAMINATION BY

     5        MS. LEVY:

     6               Q.     Good morning, Ms. Keller.            My

     7        name is Jenny Levy, and I'm an attorney

     8        here at Kirkland & Ellis.            I represent the

     9        Allergan defendants in this case.

    10                      Thank you for being here today.

    11        Apologies in advance for my scratchy voice

    12        and sniffles.        I'm feeling very under the

    13        weather, so I will do my best to keep my

    14        germs away from you.

    15                      Have you ever had your deposition

    16        before?

    17               A.     Good morning, Jenny.          Thanks for

    18        having me.       And no.

    19               Q.     This is the first deposition

    20        experience you've ever had?

    21               A.     Correct.

    22               Q.     In the course of your work either

    23        at the New York Attorney General's Office

    24        or previously with SEIU, did you sit in on

    25        any depositions or is this the first time

  Golkow Litigation Services                                                Page 12
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 14 of 73. PageID #: 89978
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        law, right?

     3               A.     I am not an expert in the law.

     4               Q.     And you don't intend to offer any

     5        legal opinions in this case?

     6               A.     I do not.

     7               Q.     You have not ever worked in drug

     8        enforcement, have you?

     9               A.     No,   I have never worked in drug

    10        enforcement.

    11               Q.     You are not an expert on the

    12        Controlled Substances Act, are you?

    13               A.     That is correct, I am not an

    14        expert in the Controlled Substance Act.

    15               Q.     You have not ever worked with the

    16        DEA, have you?

    17               A.     I have not.       I have not worked

    18        with the DEA.

    19               Q.     And you are not an expert in DEA

    20        requirements and regulations, correct?

    21               A.     That is correct.

    22               Q.     You are not an expert or don't

    23        intend to offer yourself as an expert in

    24        what the DEA regulations actually mean,

    25        correct?

  Golkow Litigation Services                                                Page 48
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 15 of 73. PageID #: 89979
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2               A.     That is correct.

     3               Q.     You do not intend to offer

     4        yourself as an expert in what DEA

     5        registrants should or are supposed to do in

     6        accordance with those guidance and

     7        regulations, correct?

     8               A.     That is correct.

     9               Q.    And from a big picture level, if

   10         I understand your report correctly, what

   11         you have done is offer -- is do analyses

   12         offering 16 different metrics and

   13         illustrate what the results of those

   14         metrics would show at a high level.

   15                       Do you agree with me that that's

   16         what your report does?

   17                A.     Yes.    I didn't actually count how

   18         many metrics, so I'm taking your word that

   19         there are 16.

   20                Q.     I will represent to you that I

   21         count 16.      But what I'm trying to parse

   22         out, I don't mean to be mysterious, is I

   23         want to make sure that I understand the

   24         expertise you do intend to offer and the

   25         expertise you don't intend to offer.

  Golkow Litigation Services                                               Page 49
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 16 of 73. PageID #: 89980
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2                      So as I understand your opinions,

     3        they are opinions from a data science point

     4        of view that say if you ran these metrics,

     5        here's what the results would look like.

     6                      Is that a fair assessment at a

     7        very, very high level?

     8                      MS. CONROY:       Objection.

     9                      You can answer.

    10               A.     I would say that's a fair

    11        assessment.       I was asked to apply the

    12        compliance metrics to the labeler's data,

    13        including chargebacks and IMS, IQ, yeah.

    14               Q.     And you don't intend to offer any

    15        opinions about which one of those metrics

    16        is the right one, do you?

    17               A.     That is correct.         I don't endorse

    18        any of the metrics or not endorse.

    19        Agnostic would be the correct term, yeah.

    20               Q.     Okay.    And you're not going to

    21        offer any opinions that a particular

    22        registrant should have or is required to

    23        employ which ones of the metrics?               That is

    24        not what you were retained to do, correct?

    25               A.     That is correct.

  Golkow Litigation Services                                                Page 50
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 17 of 73. PageID #: 89981
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2               Q.     And that is beyond your expertise

     3        to do.

     4                      Do you agree with that?

     5               A.     That is correct.
         -
     6               Q.     And I think, if I'm reading your

     7        report correctly, you don't take any

     8        opinion as to what the DEA or the

     9        Controlled Substances Act means when it

    10        talks about suspicious orders.

    11                      You are not taking a position as

    12        to what specifically the DEA means, right?

    13               A.     Yes, I believe that's right.

    14               Q.     And I think it can make our day

    15        easier if I understand the scope of this.

    16                      What you have done is you've used

    17        a number of different metrics to show that

    18        if a particular defendant had looked at the

    19        data this way, this is what that defendant

    20        would have seen.

    21                      Is that fair?

    22               A.     Yes.
    23               Q.     And when you use the term

    24        "suspicious," which you do quite a number

    25        of times in your report, what you mean by

  Golkow Litigation Services                                                Page 51
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 18 of 73. PageID #: 89982
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        that is the result of your own metrics,

     3        right?

     4                A.    Yes, you can characterize it that

     5        way.

     6                Q.    You don't mean to use

     7        ''suspicious'' as a technical term meaning

     8        suspicious under the Controlled Substances

     9        Act, right?

   10                       MR. LEDLIE:      Object to the form.
   11                       You can answer.
   12                 A.    Yes, when I say "suspicious," I

   13         mean that they have either triggered one of

   14         the metrics, which are -- I'll leave it at

   15         that.

   16                 Q.    Okay.    And you haven't, you

   17         haven't gone -- have you ever met with

   18         anyone from DEA about this case and your

   19         report?

   20                 A.    I have not met with anyone about

   21         this case or my report from the DEA.

   22                 Q.    Okay.    Why do you hesitate?

   23                 A.    I have spoken to DEA officials

   24         about the ARCOS data and how to process it,

   25         but clarifying questions of what does an S

  Golkow Litigation Services                                               Page 52
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 19 of 73. PageID #: 89983
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        labeler impact, in your own words, you

     3        phrase it as a hypothetical, right?

     4                A.    Correct.

     5                Q.    You aren't suggesting -- the

     6        defendant that's subject to the small

     7        labeler impact is Janssen, correct?

     8                A.    Yes, I believe so.

     9                Q.    And what you do in that section

    10        is you model, hypothetically, if Janssen

    11        had looked at the data this way, then

    12        hypothetically, orders could have been

    13        stopped, right?

    14                A.    That is correct.

    15                Q.    But you do not go further in this

    16        report to opine that Janssen had an

    17        obligation to do that or should have done

    18        that or that the DEA expected Janssen to do

    19        that.

    20                      That's beyond your expertise,

    21        right?

    22                A.    That is beyond, yes.

    23                Q.    Okay.    And, also, you don't know

    24        or you don't have the expertise to know --

    25        you don't consider yourself an expert in

  Golkow Litigation Services                                                Page 55
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 20 of 73. PageID #: 89984
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        DEA reporting requirements, do you?

     3               A.     No.

     4               Q.    And you don't know what triggers

     5        a reporting requirement for a manufacturer?

     6               A.     No.

     7               Q.     You don't know what triggers a

     8        reporting requirement for a distributor, do

     9        you?

   10                A.     No.

   11                Q.     And you don't know what triggers

   12         reporting requirements for pharmacies?

   13                A.     No.

   14                Q.     It is beyond the scope of your

   15         expertise to opine on what triggers a

   16         reporting responsibility specifically?

    17        That's beyond what you have been asked to

    18        do here, correct?

    19               A.     Correct.

    20               Q.     And also just to make sure we

    21        narrow in on what your opinions are, you

    22        are not an expert in what DEA does with

    23        suspicious reports?          That is beyond your

    24        expertise as well, right?

    25               A.     That is correct.

  Golkow Litigation Services                                               Page 56
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 21 of 73. PageID #: 89985
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                Q.   And I think there are places in

     3        your report where you talk about orders

     4        that could have been stopped.             And I just

     5        want to make sure that I understand the

     6        parameters of what you intend to say about

     7        that.

     s                      When you talk about orders that

     9        could have been stopped, you mean from a

   10         data perspective hypothetically, correct?

   11                 A.    Yes.    I mean that the compliance

   12         metrics showed that order or that triggered

   13         that order and so, yes, it could have been

   14         stopped.

   15                 Q.    So someone, somewhere could have

   16         stopped those orders?

   17                 A.    Yes, they could have seen it or

   18         stopped it.

   19                 Q.    But beyond what the data shows,

   20         do you have any opinions whatsoever on how

   21         that would work in the real world?

   22                       MS. CONROY:       Objection.

   23                       You can answer.

   24                 A.    No, I have no opinions on the

   25         real world.

  Golkow Litigation Services                                               Page 57
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 22 of 73. PageID #: 89986
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        last person that put that, if you will, a

     3        box together.

     4                      So I don't know how often that

     5        box was created by somebody else and

     6        labeled by someone else.            They might always

     7        be the same.       But to be most correct, I

     8        wanted to use the DEA's and the FDA's

     9        terminology.       I'm not sure which one, where

    10        that term came from, but I saw that as part

    11        of the data set.

    12               Q.     And so going back to the small

    13        labeler impact, when you talk about orders

    14        that could have been stopped, you did not

    15        analyze how that would have happened, who

    16        would have stopped the orders, who had a

    17        duty to stop the orders, what would have

    18        had to happen to stop the orders?               You

    19        didn't do any of that work, did you?

    20               A.     Correct.

    21               Q.     And you certainly don't intend to

    22        opine that Janssen, in particular, should

    23        have stopped those transactions.               That is

    24        beyond what you're saying.             You're simply

    25        saying it could have happened, correct?

  Golkow Litigation Services                                                Page 59
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 23 of 73. PageID #: 89987
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2               A.     That is correct.

     3               Q.     And really, as you sit here, you

     4        don't even know how Janssen or any other

     5        registrant would actually stop those orders

     6        in practice in the real world?              That is not

     7        something that you have ever studied or

     8        know if it would even be possible, right?

     9               A.     That's correct.

    10               Q.     Okay.    So let's go to the

    11        summary.      Let me mark your report as

    12        Exhibit 5.

    13                      (Keller Exhibit 5, Expert

    14               Analysis of Lacey R. Keller, not

    15               Bates-stamped, marked for

    16               identification, as of this date.)

    17        BY MS. LEVY:

    18               Q.     Do you recognize what we've

    19        handed you as Exhibit 5?

    20               A.     I do.

    21               Q.     What is that?

    22               A.     That is my report.

    23               Q.     How did this document spring

    24        forth into the world?           What -- who typed

    25        it?    Whose computer was it on?            How did it

  Golkow Litigation Services                                               Page 60
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 24 of 73. PageID #: 89988
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        didn't -- you were not asked to and you

     3        didn't look specifically at Allergan?

     4                      MS. CONROY:      Objection.

     5               A.     As far as we were presenting

     6        results, let's say, ala, table 1 and 2,

     7        correct.

     8               Q.     Now beginning on page 16 in

     9        Section J, you describe your compliance

    10        metric application.

    11                      Are you with me?

    12               A.     Yes.
         -



    13               Q.     And you state in paragraph 51,            "I

    14        was instructed by counsel to apply metrics

    15        derived and used by any manufacturer or

   16         distributor and also to apply metrics

    17        applied in enforcement actions, McKesson

    18        and Masters, to all data sets to detect

    19        prescribing and purchasing patterns of

    20        unusual size, frequency and pattern."

    21                      Do you see that?

    22               A.     I do.

    23               Q.     When you say "I was instructed by

    24        counsel," who does that refer to?               What

    25        counsel?

  Golkow Litigation Services                                               Page 88
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 25 of 73. PageID #: 89989
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                      You are not aware of any specific

     3        rules or regulations for a registrant on

     4        how to calculate patterns of unusual size

     5        or frequency, correct?

     6               A.     So I think, as I stated earlier,

     7        that's not my area of expertise.

     8               Q.    And you're not aware of any?

     9               A.     I wouldn't be able to say, but ...

   10                Q.     Okay.    The first metric that you

   11         employ is double the national average.                 And

   12         I'm looking now on page 17.

   13                A.     Correct.

   14                Q.    Are you with me?

   15                      And that metric, again, was one

   16         that Linda Singer asked you to do, correct?

   17                A.     Correct.

   18                Q.    And you didn't find it in any DEA

   19         regulations?

   20                A.     Correct.

   21                Q.     You are not aware of any place in

   22         the real world where this metric is used,

   23         correct?

   24                       MS. CONROY:       Objection.

   25                A.     I wouldn't know for sure.

  Golkow Litigation Services                                               Page 90
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 26 of 73. PageID #: 89990
    Highly Confidential - Subject to Further Confidentiality Review

     1

     2         I have there, that's where it would have

     3         been derived from.
     4                 Q.   And beyond that, you don't know

     5         anything other than you were asked to run

     6         it, correct?
     7                 A.   Yeah, I was asked to review the
     8         metric and implement it on the data.
           -
     9                 Q.   With respect to the Qualitest

    10         Endo 25/50 percent national average, that

    11         metric also came -- that metric was

    12         presented to you by the attorneys as

    13         something that you should run based on

    14         documents that you were provided, correct?
    15                 A.   It was either a metric that we
    16         found or the attorneys provided.              I

    17         honestly can't remember.
               .
    18                 Q.   And for this metric, which was
    19         it?     Did you stumble across a document and
    20         say, hey, we should run this?             Or did the

    21         attorneys provide you documents and say

    22         based on these documents, we'd like for you

    23         to run it as if this were the law of the

    24         land?

    25                      MS. CONROY:       Objection.

  Golkow Litigation Services                                               Page 96
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 27 of 73. PageID #: 89991
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2              A.     I don't know.

    3               Q.    Do you have a supplemental report

    4        in process?

    5              A.     No.

    6               Q.    Okay.    And if your opinions

    7        change in any way as a result of additional

    8        analysis of the 2000        [sic]   data or for any

    9        other reason, we would ask that you bring

   10        that to the attention of counsel.

   11              A.     Of course.

   12               Q.    Okay.    Page 27 of the report,

   13        paragraph 76, heading No. 1 at the top of

   14        page 27.

   15                     Are you with me?

   16              A.     I am.

   17               Q.    It says,    "Defendant access to

   18        IQVIA data."

   19                     And then down in paragraph 78 you

   20        make the statement that "Each of the

   21        defendant labelers had access to IQVIA

   22        XPONENT data."

   23                     Do you see that?

   24               A.    I do.

   25               Q.    That is an assumption that you

  Golkow Litigation Services                                          Page 102
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 28 of 73. PageID #: 89992
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        were asked to make.          You did not look at

     3        each labeler and do an analysis of what

     4        data each labeler had during what time

     5        periods in the real world?            You did not do

     6        that, did you?

     7               A.     I would say it's a mix.

     8               Q.     Okay.
     9               A.     It was an assumption that we made

    10        at the beginning of the report.              But we

    11        also, in part of the reliance materials

    12        that are provided to you today, also

    13        include dates in which we identified

    14        defendant access to             defendant labeler

    15        access, I should be more specific, to the

    16        IQVIA XPONENT data or purchase.               I should

    17        say purchase, not access.

    18               Q.     So let's go through on page 28 in

    19        table 6.

    20                      For Endo, did you an analysis of

    21        what IQVIA data Endo had in its files, what

    22        type of IQVIA data Endo actually had, and

    23        for what years in the 20-year time period

    24        that you looked at?          Is that something that

    25        you did?

  Golkow Litigation Services                                              Page 103
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 29 of 73. PageID #: 89993
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                A.    I would say yes.
     3                Q.   Okay.     And what is the answer for

     4        Endo?

     5                A.    I'd have to pull up my files to

     6        look specifically.

     7                Q.   You don't know?

     8                A.    I don't remember, no.

     9                Q.   Okay.     Do you know -- can you

   10         say, as you sit here, are you going to give

   11         the opinion that Endo actually had the full

   12         set of IQVIA data in its files for the

   13         whole 20-year period?              Is that an opinion

   14         you intend to offer in this case?

   15                 A.    So I would say it's an assumption

   16         of the report but not an opinion, yes.

   17                 Q.   Okay.     And so I just want to

   18         I'm not trying to be tricky.              I'm looking

   19         at the first statement in 78.              You say,

   20         ''Each of the defendant labelers had access

   21         to IQVIA XPONENT data.        11




   22                       What you mean by that is they

   23         could have purchased that data, right?

   24                 A.    I would say that's correct, if

   25         they didn't already purchase some form of

  Golkow Litigation Services                                              Page 104
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 30 of 73. PageID #: 89994
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        it, yes.

     3               Q.     And in -- some of the labelers or

     4        some of the defendants in this case might

     5        have purchased some data for some time

     6        periods.      And you do not know and did not

     7        do a deep analysis of every single labeler,

     8        every single time period?            You didn't do a

     9        look at what each labeler had in the real

   10         world, right?

   11                A.     We had a -- we had a high level

   12         review, but I couldn't write a report on

   13         each labeler's access on every year, no.

   14                Q.     And the metrics that you run that

   15         flow from the IQVIA data are based on the

   16         assumption that any of these labelers could

   17         have had it all, but not assuming that they

   18         actually did have it all in the real world?

   19                A.     Yes.
   20                Q.     And --

   21                A.     When you say ''it all,'' I would

   22         say         I want to clarify that, if you're

   23         saying that the Allergan data is it all.                  I

   24         don't know what the "all" could be from

   25         IQVIA.      You know, I know only what Allergan

  Golkow Litigation Services                                                Page 105
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 31 of 73. PageID #: 89995
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        triple national average, from McKesson

     3        8,000, and from common sense.

     4                      Each of these metrics generates a

     5        different number of flags, right?

     6               A.     Correct.

     7               Q.     You do not intend to offer any

     8        opinion in this case as to which one of

     9        these is right.        I think you've told us

    10        that, correct?

    11               A.     Right.

    12               Q.     And relatedly, you don't intend

    13        to offer any opinion that any particular

    14        set of these prescriptions are suspicious

    15        prescribing as the DEA would define it?

    16        That is not what you're here to do,

    17        correct?

    18               A.     Correct.     Whenever we use the

    19        word ''suspicious,'' we mean that it tripped

    20        one of the metrics.

    21               Q.     When you use the term

    22        "suspicious," you mean flagged by your

    23        metrics?

    24               A.     That's precisely what we mean.

    25               Q.     And that is all that you mean by

  Golkow Litigation Services                                              Page 111
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 32 of 73. PageID #: 89996
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        that?

     3                A.    Correct.
         '
     4                Q.    And so under your metrics, in

     5        table 10, we can see the number of

     6        physicians in Summit and Cuyahoga County

     7        who would have been flagged by the

     8        compliance metrics that you use, right?

     9                A.    Correct.

   10                 Q.    And depending on which metric you

   11         use, your metrics would generate thousands

   12         and thousands of physicians in these two

   13         counties who get flags, right?

   14                 A.    I would say they're not my

   15         metrics, but by applying these metrics,

   16         yes, you would have.

   17                 Q.    And I think I know the answer

    18        now, but you are not suggesting that there

    19        are actually, looking at the first row,

    20        4,207 family or general physicians in

    21        Summit and Cuyahoga County that are

    22        actually prescribing suspiciously?               That is

    23        not what you mean to suggest here, correct?

    24                A.    Correct.     What I mean to say is

    25        that they were -- they tripped one of the

  Golkow Litigation Services                                              Page 112
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 33 of 73. PageID #: 89997
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        on row 15.      I'm taking your math for it,

     3        but it looks to be generally right.                Row 11

     4        and row No. 4.

     5               Q.    And you don't intend to offer any

     6        opinion that actually in the real world,

     7        these were suspicious orders or DEA would

     s        consider these suspicious orders, correct?

     9               A.     Correct.

   10                Q.    Okay.     And the same analysis,

   11         this one in Exhibit 6 is unique to

   12         Allergan.

   13                       Did you isolate for any other

   14         labeler the exact number of chargebacks in

   15         Cuyahoga and Summit County?

   16                A.    Where we would, like, create a

   17         table like 34 for Summit and Cuyahoga, no.

   18                Q.    Okay.     Why didn't do you that?

   19         There are many other places in your report

   20         that you looked specifically at Cuyahoga

   21         and Summit County.         Why did you not do that

   22         for purposes of table 34?

   23                A.     Honestly, I have no idea, but

   24         it's easy to run and could be done no

   25         problem, and I'd be happy to do that for

  Golkow Litigation Services                                              Page 146
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 34 of 73. PageID #: 89998
   Highly Confidential - Subject to Further Confidentiality Review
                                                               -~/-·          .




     1

     2        of these and two they hit on any flag.

     3                      Is that a correct reading of this

     4        table?

     5               A.     Correct.

     6               Q.     And again, I think you've now

     7        said this many, many times, but it's not --

     8        you do not intend to offer any opinion that

     9        these are, in fact, suspicious orders or

    10        suspicious purchases by buyers.              That is

    11        beyond what you are able to do and beyond

    12        your expertise, correct?

    13                      MS. CONROY:       Objection.
    14               A.     Correct.

    15               Q.     And that's true for Allergan, but

    16        also all of the other labelers on the

    17        left-hand column?

    18               A.     I would say so, yes.
    19               Q.     Okay.    And the same with table 39

    20        and the dosage units, I think generally the

    21        same thing applies.

    22                      The number of flagged dosage unit

    23        changes, depending on which one of your

    24        metrics are applied, correct?

    25               A.     Correct.

  Golkow Litigation Services                                              Page 148
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 35 of 73. PageID #: 89999
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        employed, right?

     3                      MS. CONROY:      Objection.

     4               A.     Yes, I think that's a correct

     5        characterization.

     6               Q.    And your analysis does not

     7        include, for example, an analysis of

     8        Allergan and a look at every single order

     9        that it did investigate.

   10                       You didn't conduct such an

   11         analysis for Allergan or any other labeler,

   12         correct?

   13                A.     Let me think about that for a

   14         second just to make sure I'm clear.

   15                       I was ... I think that is correct.

   16         I didn't look at the practices, I didn't

   17         evaluate the practices of Allergan.                I

   18         didn't look at how each process was -- how

   19         each order was processed, monitored,

   20         flagged, unflagged or released, et cetera.

   21                Q.     And to be clear, you had some

   22         information about suspicious order

   23         monitoring programs for the various

   24         labelers.      You had some information, but

   25         you didn't do an analysis of which ones of

  Golkow Litigation Services                                              Page 154
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 36 of 73. PageID #: 90000
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        the orders were investigated versus weren't

     3        investigated.

     4                      That was beyond what you did,

     5        right?

     6               A.     I think -- I think that's

     7        correct.

     8               Q.     Yeah, I'm not trying to be

     9        tricky.     I just want to make sure.

    10                      You never looked at for any of

   11         the flags that came up for any of your

    12        metrics in the real world whether a labeler

    13        actually did investigate those particular

    14        transactions?        That, you never looked at,

    15        right?

   16                       MS. CONROY:       Objection.

    17               A.     I think that's correct.           I did

    18        have access to the Mallinckrodt peculiar

    19        orders data, but I didn't go as far as

    20        beyond looking at that data set.

    21               Q.     And so for the set of

    22        transactions that are flagged under

    23        different matrices, you can't say which

    24        ones of those actually got investigated,

    25        which ones didn't, which ones were

  Golkow Litigation Services                                              Page 155
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 37 of 73. PageID #: 90001
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        legitimate, which ones weren't legitimate?

     3        That is not something that you did in

     4        connection with your work in this case,

     5        right?

     6               A.     Yes, I would not be able to state

     7        which ones were legitimate or not.

     8               Q.     Okay.    And the extension of that

     9        is, you have no opinion, you cannot opine

    10        on what the impact would have been if a

    11        labeler had investigated because you don't

    12        know what those investigations would have

    13        found, what would have happened after that,

    14        correct?

    15               A.     Yes, I think we've covered this

   16         one earlier, but with the exception of the

    17        hypothetical Janssen analysis, that is a

    18        correct statement.

    19               Q.     Okay.    I forgot to talk to you

    20        about your addendum.          You provided an

    21        addendum to your expert report.

    22                      Do you know what I'm talking

    23        about when I say the addendum?

    24               A.     Yes, I do.

    25               Q.     So how did this addendum come

  Golkow Litigation Services                                              Page 156
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 38 of 73. PageID #: 90002
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2               Q.    Do you know what makes an order

    3        reportable to the DEA as a suspicious

    4        order?

    5              A.     No,   I do not.    As we discussed

    6        earlier, outside of my expertise.

    7               Q.    Do you know whether DEA expects

    8        registrants to conduct due diligence into

    9        flagging orders -- into flagged orders to

   10        determine whether they're actually

   11        suspicious before reporting it?

   12              A.     Again, as discussed earlier,

   13        outside of my expertise.

   14               Q.    Did you ever discuss whether

   15        to -- strike that.

   16                     Did you ever discuss whether to

   17        consider due diligence in running the

   18        metrics that you ran?

   19              A.     So --

   20               Q.    Let me start over.

   21                     You said earlier that in your

   22        report,     if something is suspicious, you

   23        mean it just was tripped by one of the

   24        metrics, right?

   25              A.     That is correct.

  Golkow Litigation Services                                          Page 210
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 39 of 73. PageID #: 90003
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                Q.    And just because you used the

     3        word ''suspicious'' in your report, that

     4        doesn't mean it's suspicious as the DEA

     5        defines under the Controlled Substances

     6        Act, correct?

     7                A.    That's accurate.

     8                Q.    So did you ever consider whether

     9        you should take due diligence into account

   10         in creating your definition of suspicious?

   11                 A.    So I'm pausing for this because

   12         there's the addendum that does the

   13         persistent flagging which assumes no due

    14        diligence because once the flag is

    15        triggered, it stays on for the perpetuity

   16         of the data set.

    17                      So in the sphere that is around

    18        that, then, yes.         And if we're talking

    19        about anything outside of that, then no.

    20                Q.    Are you aware whether -- strike

    21        that.

    22                      Did you look at any documents or

    23        deposition testimony regarding Janssen's

    24        due diligence of flagged orders?
    25                A.    I might have read a document or

  Golkow Litigation Services                                              Page 211
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 40 of 73. PageID #: 90004
   Highly Confidential - Subject to Further Confidentiality Review

                                                                                  .I
      1

      2      But I don't believe that we had a Janssen

      3      algorithm.

      4            Q.     I'll represent to you we haven't

      5      found one.

      6                   Why is it that you didn't use

      7      Janssen's suspicious order monitoring

      8      algorithm or compliance metric in your

      9      report?

    10             A.     If it's not here, then, which I

    11       don't think it is,       I didn't know of it.        So

    12       if there was one,      I'd be happy to implement

    13       it.

    14              Q.    How did you choose the compliance

    15       metrics that got included in the report?

    16             A.     As we were stating earlier, some

     17      were provided by counsel, others we found.

     18             Q.    So there was no instruction by

     19      anyone to make sure you included all of the

     20      defendants' algorithms in your report?

     21            A.     Well,   I would say that's correct,

     22      there was no explicit instruction to

     23      include all or exclude all,          include what

     24      you could find and go from there.
-    25             Q..   Is it your understanding that

    Golkow Litigation Services                                         Page 213
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 41 of 73. PageID #: 90005
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        nobody could find Janssen's suspicious

     3        order monitoring algorithm?

     4                A.    I just wanted to look at one

     5        thing really quick.

     6                      (Document review.)

     7                Q.    What page are you on?

     8                A.    I'm trying to find it.           I'm

     9        sorry.

    10                Q.    Are you looking for the metrics?

    11                A.    Yeah.     I'm looking actually for

    12        the footnote about Janssen that describes

    13        the SOMS program.

    14                      (Document review.)

    15                A.    Because as I understood it, there

    16        wasn't one to implement.            But I just ...

    17        that's what I wanted to review.

    18                      (Document review.)

    19                A.    So, yes, it was my understanding

    20        that there wasn't a metric.

    21                Q.    It was your understanding?

    22                A.    Correct.

    23                Q.    Did you ask anybody to confirm

    24        that?

    25                A.    I did.

  Golkow Litigation Services                                              Page 214
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 42 of 73. PageID #: 90006
   Highly Confidential - Subject to Further Confidentiality Review

    1


    2                Q.      Who did you ask?

    3                A.      Evan Janush,   I think is his last

    4        name.        J-a-n-u s-h.

    5                Q.      And your understanding is that

    6        Mr. Janush told you that Janssen did not

    7        have a suspicious order monitoring

    8        compliance metric or algorithm?

    9                A.      Correct, that we could implement,

   10        yes.

   11                Q.      Did you find that footnote?

   12                A.      Yes.   I was on page 28 here.

   13        Footnote 83 is what I was looking for just

   14        to make sure.

   15                Q.      And footnote 83 says,     "Janssen

   16        used chargeback and value track data on

   17        occasion for size only.''

   18                        Is that what you were thinking

   19        of?

   20                A.      That is exactly what I was

   21        thinking of.

   22                Q.      And what makes you think that

   23        that supports the notion that Janssen did

   24        not have a suspicious order monitoring

   25        algorithm?

  Golkow Litigation Services                                          Page 215
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 43 of 73. PageID #: 90007
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2              that it exists.

    3                        MS. LUCAS:    I think Mr. Janush

    4               knows about our          Janssen's algorithm.

    5        BY MS. LUCAS:

    6               Q.       So I wanted to talk about your

     7       small labeler opinion.

     8                       And that applies only to Janssen,

     9       correct?

   10               A.       That is correct.

   11               Q.       And why is that?

   12               A.       So small labeler,    I don't mean

   13        any offense to that because I understand

   14        Johnson     &   Johnson is a very large company,

   15        but when it comes to opioids, you have very

   16        few as it pertains to the market share,

   17        right?      You're a much lower market share.

   18               Q.       Actually,    if you want to turn

   19        really quickly to page

   20               A.       16 you're probably looking for.

   21               Q.       I am.

   22                        Page 16, table 1 and table 2.

   23        That reflects Janssen's market share in

   24        Summit County and Cuyahoga County, correct?

   25               A.       Yes.

  Golkow Litigation Services                                          Page 221
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 44 of 73. PageID #: 90008
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2               Q.     And the largest percentage on

     3        that table is 0.9 percent, and the smallest

     4        one is 0.1 percent, correct?

     5               A.     That appears to be correct.

     6               Q.     Did you calculate those numbers?

     7               A.     I didn't do it by hand, but an

     s        algorithm did.

     9               Q.     How did you do that?

    10               A.     SQL query.

    11               Q.     And you concluded that Janssen

    12        had between 0.1 percent and 0.9 percent

    13        market share in Summit and Cuyahoga,

    14        correct?

    15               A.     Yes, depending on the metric and

    16        depending on the county.

    17               Q.     And other manufacturers, either

    18        defendants or otherwise not named in the

    19        complaints, had between 99.1 and 99.9

    20        percent of the market share, correct?

    21               A.     Yes.    I'm assuming you're taking

    22        the hundred minus yourselves and that's

    23        everybody else, yes.

    24               Q.     So then back to your small

    25        labeler opinion, why then did you conduct

  Golkow Litigation Services                                              Page 222
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 45 of 73. PageID #: 90009
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                A.     I believe so, yes.        I'd have to

     3        look at the code to be for certain.

     4                Q.    So in order for this analysis to

     5        work, you had to assume·that the prescriber

     6        was taken off-line the moment the metrics

     7        used were tripped and there was a flag,

     s        correct?

     9                      MS. CONROY:       Objection.

    10                A.     I would say for this hypothetical

    11        situation to present itself, yes, once

    12        someone was flagged and they were taken

    13        off-line, what their, what amount of

    14        prescriptions were then taken off-line.

    15                       I'm trying to say it the best way

    16        I can.       I'm sorry if I'm not being clear.
    17                Q.    Do you believe that your small

    18        labeler impact opinion is an accurate

    19        representation of what happens in the real

    20        world?

    21                A.     I'm not really an expert to say

    22        that.

    23                Q.    Do you have any beliefs on

    24        whether it's an accurate representation of

    25        what would happen in the real world?

  Golkow Litigation Services                                              Page 226
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 46 of 73. PageID #: 90010
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        your opinion of what would happen?

     3               A.     So I would say that the change

     4        that we made earlier in the corrections

     5        where we went from "would" to "could,"

     6        those should have been throughout.                I

     7        didn't really get to talk about every

     8        single change here.          But, again, these are

     9        "could" statements, and I think we stated

   10         that pretty definitively in the first part

   11         of this deposition.

    12               Q.     Right.     I asked because I noticed

    13        that the corrections didn't apply to this

    14        paragraph.      And so you are now saying that

    15        you meant to say "could" have happened?

    16               A.     I would be most comfortable with

    17        saying ''could. 11

    18               Q.     And "could" means that it's

    19        feasible, correct?

    20               A.     I think that's what that word

    21        means, yes.

    22               Q.     Do you believe that your small

    23        labeler impact opinion is feasible in the

    24        real world?

    25               A.     I'm not here -- I won't talk

  Golkow Litigation Services                                              Page 229
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 47 of 73. PageID #: 90011
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        about real world.         It's outside of my

     3        expertise.

     4                Q.    So you're not offering any

     5        opinion about whether your small labeler

     6        impact opinion could happen in the real

     7        world, right?

     8                      MS. CONROY:      Objection.

     9                A.    So I think we've said here that

   10         this was what could happen.             I'm not

   11         offering an opinion about what would happen

   12         or should happen.

   13                 Q.    Right.

   14                       But you're also not offering an

   15         opinion about what could happen as applied

   16         in the real world, right?

   17                 A.    I guess I'm not really

   18         understanding the difference between that

   19         question and the one that I just answered.

    20                Q.    Well, because you said this is

    21        all hypothetical.

    22                A.    Sure, but it relies on real-world

    23        data.

    24                Q.    Which data?

    25                A.    The IQVIA data.

  Golkow Litigation Services                                              Page 230
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 48 of 73. PageID #: 90012
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                Q.      It is then your opinion that this

     3        could happen in the real world, correct?

     4                A.      It seems a little ... it's a lot

     5        of time to spend on a hypothetical, but,

     6        yes, if all of the assumptions that were

     7        outlined in the report that the labeler was

     8        -- or that the labeler identified the

     9        prescriber and that all the different steps

   10         were taken to take them off-line, then,

   11         yes, it could happen in the real world.

   12                 Q.     Well, the only two assumptions I

   13         think I heard were that one of the metrics

   14         was tripped and a flag went up, correct?

   15                 A.     That is one part of the

   16         hypothetical.

   17                 Q.     And Janssen would report that

   18         prescriber to law enforcement as

   19         suspicious, right?

   20                 A.      So as part of the hypothetical,

   21         they would be tripped, Janssen could report

   22         them.        That prescriber, through whatever

   23         or they could be reported, or they could

   24         stop prescribing, whatever the means are to

   25         get them to stop prescribing.

  Golkow Litigation Services                                              Page 231
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 49 of 73. PageID #: 90013
    Highly Confidential - Subject to Further Confidentiality Review

     1


     2                      But the whole point of the

     3        analysis is that that prescriber who was

     4        flagged then stops prescribing.              I don't

     5        really claim or really fill out the blanks

     6        between what gets from A to B.

     7               Q.     You said that your assumption is

     8        that the prescriber would stop prescribing

     9        immediately upon the metric being tripped,

    10        right?

    11               A.     Correct.

    12               Q.     Do you have any basis to believe

    13        that those assumptions would happen in the

    14        real world?

    15               A.     It's really outside of my

    16        expertise.

    17               Q.     You don't know?
    18               A.     I don't know.

    19               Q.     Have you ever thought when you

    20        were thinking about this analysis whether

    21        it was flawed?

    22                      MS. CONROY:       Objection.
    23               A.     I think --

    24                      MS. CONROY:       Which analysis?        The
    25               hypothetical you're talking about or --

  Golkow Litigation Services                                               Page 232
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 50 of 73. PageID #: 90014
   Highly Confidential - Subject to Further Confidentiality Review

    1


    2        only the algorithm?

    3              A.     Yes,    I think that would be a

    4        better characterization.

    5               Q.    So you're excluding from

    6        suspicious order monitoring program, any

    7        follow-up due diligence that the suspicious

    8        order monitoring department did when an

    9        order was flagged,        right?

   10                     MS. CONROY:      Objection.

   11              A.     Yeah,    I would say that's outside

   12        of the scope.        So to the extent that there

   13        was an algorithm that we could implement

   14        and chargebacks were used as part of that

   15        algorithm,    then they get the "yes" here.

   16              Q.     Got it.

   17                     And so ...

   18                     (Document review.)

   19              Q.     All right.      Take a look at page 4

   20        of the --

   21                     MS. LUCAS:      Do we have the errata

   22               sheet marked?

   23                     MS. CONROY:      Yes.

   24                     MS. LUCAS:      From 5/11?

   25                     Has this been marked?

  Golkow Litigation Services                                          Page 236
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 51 of 73. PageID #: 90015
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        appeared in the chargeback data.

     3               Q.     And for seven of them, you say

     4        that seven were flagged by any metric,

     5        correct?

     6               A.     Sorry, just a second.          I just

     7        want to make sure.

     8                      So your question earlier, it says

     9        total buyers, 12.         Yes, total buyers in the

   10         chargeback data.        And then seven of which

   11         were flagged by any metric.

   12                Q.     Did you do any research yourself

   13         to determine whether any of those buyers

   14         were actually suspicious?

   15                       MS. CONROY:      Objection.

   16                A.     That would be outside of the

   17         scope of my expertise.

   18                Q.    And if you take a look back at

   19         your report in Exhibit 5 at page 28, table

   20         6, this is about IQVIA data.

   21                       I want to confirm what I think is

   22         going to be the case based on what you just

   23         told me.

   24                       In paragraph 80, it says,

   25         ''Janssen discusses using IQVIA data for

  Golkow Litigation Services                                              Page 238
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 52 of 73. PageID #: 90016
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        looking for it.

     3                 Q.   Well,   I guess I'm trying to

     4        understand why this opinion exists if you

     5        can't tell me that there is any evidence in

     6        the record that it reflects things that

     7        actually happened.

     8                 A.   I mean, it was a hypothetical

     9        request by -- to me, and so that's what I

   10         enacted.      I was asked to enact that.

   11                  Q.   Quickly, you said that your

   12         opinion assumes that the doctor would stop

   13         prescribing immediately upon being reported

   14         to law enforcement, correct?

   15                       MS. CONROY:      Objection.

   16                  A.   I would say the assumption is

   17         that they do not have any more

   18         prescriptions.        However that comes to be

   19         is ...

   20                  Q.   But do you know how long

   21         investigations into prescribers take?

   22                  A.   Outside of my expertise.

   23                  Q.   Well, if you look at page 40 of

   24         your report, on paragraph 96, it's talking

   25         about a prescriber named Ronald Celeste.

  Golkow Litigation Services                                              Page 256
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 53 of 73. PageID #: 90017
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        And there was an"· .. uptick in

     3        prescriptions caught the attention of the

     4        authorities, who launched a two-year

     5        investigation into his practice in 2014."

     6                      So you know here, in your report,

     7        is that the investigation into Mr. Celeste

     s        lasted two years, correct?

     9                A.    That was what was reported in the

   10         news.

   11                 Q.   And that's in your report, right?
   12                 A.    It is, but it's one
   13         investigation.        I can't say what's typical
   14         length of time for an investigation.                It's

   15         outside of my expertise.

   16                 Q.    Yes or no, are you aware of any

   17         instance ever in the real world where a

   18         prescriber stopped prescribing the moment

   19         that an investigation was opened into him

   20         or her?

   21                       MS. CONROY:      Objection.
   22                 A.    I'm not really here to talk about
   23         the real world.        It's outside of my

   24         expertise, so I can't answer a "yes" or

   25         ''no'' to that.

  Golkow Litigation Services                                              Page 257
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 54 of 73. PageID #: 90018
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                Q.    Well, that's not my question.

     3        I'm asking you if are aware of any instance

     4        in the real world where a prescriber ever

     5        stopped prescribing the moment an

     6        investigation was opened.

     7                A.    Again outside of my expertise, so

     8        I can't speak to something that I know or

     9        don't know.

   10                 Q.    You don't know what you don't

   11         know?

   12                 A.    Actually, I don't know what I

   13         don't know?

   14                 Q.    I mean,    I'm -- you're avoiding my

   15         question because my question is pretty

   16         simple.

   17                       It's are you aware of any

   18         instance where a prescriber stopped

   19         prescribing the minute that an

   20         investigation was opened into his or her

   21         prescribing practices?

   22                       MS. CONROY:      Objection.

   23         BY MS. LUCAS:

   24                 Q.    Do you know of that, yes or no?

   25                 A.    I just am not going to answer a

  Golkow Litigation Services                                              Page 258
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 55 of 73. PageID #: 90019
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        question about something that's not my area

     3        of expertise.

     4               Q.     Well, refusing to answer

     5        something and not knowing are different

     6        things.

     7                      Is it then correct that you don't

     8        know of any instance where a prescriber

     9        stopped prescribing the minute that an

   10         investigation was opened into his or her

   11         prescribing practices?

   12                A.     Look, I haven't looked at that.

   13         It's not part of my expertise.              I would not

   14         know because it's not part of my expertise.

   15                Q.     But you're offering an expert

   16         opinion on this fact that assumes this.

   17         And in order to offer this opinion, you

   18         have to have some factual basis for it.

   19                       So do you have a factual basis

   20         for this opinion or not?

   21                       MS. CONROY:       Objection.

   22                A.     So what I'm offering is a

   23         hypothetical scenario using the data that's

   24         been provided to me.          I have no expertise

   25         in the real world, due diligence, et

  Golkow Litigation Services                                              Page 259
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 56 of 73. PageID #: 90020
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2         cetera, that goes beyond that.              So there's

     3        a set of assumptions that go into this and

    4         that is all.

    5                Q.    So in order for you to get on the

    6         stand and testify about this opinion at

    7         trial, you must identify a factual basis.

    8                      Can you do that today?

     9                     MS. CONROY:       Objection.

   10               A.      I really don't know what will go

   11         into that and so I can't answer that.

   12                Q.     Is one of the other assumptions

   13         in your small labeler impact analysis that

   14         the patient who would have gotten the

   15         prescription of the flagged doctor does not

   16         go to another doctor and get that same

   17         prescription?

   18               A.      I wouldn't say that we talk about

   19         anything about patients in this report.

   20                Q.    You didn't consider that?

   21               A.     That was not something I would

   22         consider as part of this set of

   23         assumptions.       The patients are not

   24         considered in really anywhere in this

   25         report.

  Golkow Litigation Services                                              Page 260
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 57 of 73. PageID #: 90021
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                Q.   And you didn't consider also

     3        whether or not whether the medical board

     4        would revoke prescribing privileges

     5        immediately, correct?

     6                A.   Again, it was not part of the

     7        assumptions yes or no.           It's just we had

     8        too make the assumption -- to do the

     9        analysis, you make the assumption that the

   10         prescriber stopped prescribing.              The steps

   11         between medical board, due diligence, et

   12         cetera ...

   13                 Q.    Right.    Because it doesn't work

   14         unless you assume that the prescriber

   15         stopped prescribing immediately, correct?

   16                 A.    I wouldn't characterize it as it

   17         doesn't work.        It's just part of the

   18         exercise.

   19                 Q.   Well, does it work if the

   20         prescriber didn't stop prescribing

   21         immediately?       Does the result stay the

   22         same?

   23                 A.    So you could create a period of

   24         which time -- you know, you could say give

   25         them six months after which they were first

  Golkow Litigation Services                                              Page 261
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 58 of 73. PageID #: 90022
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        flagged and implement that.           It's an

    3        analysis.     How I complete the analysis can

    4        work -- you can bake in any amount of time

    5        you'd like, after which time they're first

    6        flagged if that's

    7              Q.     But for this

    8              A.     -- part of this.

    9              Q.     Sorry.

   10              A.     Yes, but for this, that was not

   11        part assumption.

   12                     MS. LUCAS:      I will reserve my

   13              rights given the time constraints and

   14              that I have a few more questions or

   15              many more questions.         If I were given

   16              the time, we could spend much more time

   17              together, but subject to that

   18              Reservation of Rights, we are done and

   19               I will pass the witness.

   20                     Can we go off the record for just

   21              a moment?

   22                     THE VIDEOGRAPHER:        The time is

   23              3:42 p.m.       We are now off the record.

   24                     (Recess is taken.)

   25                     THE VIDEOGRAPHER:        The time is

  Golkow Litigation Services                                          Page 262
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 59 of 73. PageID #: 90023
   Highly Confidential - Subject to Further Confidentiality Review

    1

    2        Mr. Buthusiem writes,        "Across the

    3        pharmaceutical industry, chargeback

    4        requests from distributors to manufacturers

    5        do not indicate what specific product

    6        inventory, i.e. which particular bottles or

    7        packages, the distributor used to fulfill

    8        the sale to the downstream registrant. "

    9                     Do you see that?

   10              A.     I. do.

   11              Q.     Do you agree with that statement?

   12              A.     I really wouldn't know.         It's

   13        outside of my expertise.

   14              Q.     So you have no reason to disagree

   15        with that statement?

   16              A.     I wouldn't have the expertise to

   17        agree or disagree.

   18              Q.     Okay.    Skipping down to the

   19        sentence in the middle of the paragraph

   20        that starts "As such," do you see that?

   21              A.     I do.

   22              Q.     And the 'underlying portion reads.

   23        "The manufacturer cannot use chargeback

   24        data to trace a downstream sale back to the

   25        specific original direct manufacturer to

  Golkow Litigation Services                                          Page 350
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 60 of 73. PageID #: 90024
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        distributor sale or sales.''

     3                      Do you see that?

     4               A.     I do see that.

     5               Q.     And do you agree with that

     6        statement?

     7               A.     I do not.

     8               Q.     Which part do you disagree with?

     9               A.     Which part?       I'm sorry.      Ask me a

    10        different question or --

    11               Q.     Sure.

    12                      What do you disagree with about

    13        that statement?

    14               A.     So I believe in my report we do

    15        trace the chargeback data back to the --

   16         for a second.

    17                      So he refers to sales data.             I

    18        didn't review sales data.            So I actually

    19        couldn't be certain if you could trace a

    20        chargeback back to sales data.

    21                      What I had available to me was

    22        chargeback data and peculiar order data.
    23               Q.     Just so the record is clear, what

    24        sales data are you referring to that

    25        Mr. Buthusiem reviewed that you said you

  Golkow Litigation Services                                              Page 351
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 61 of 73. PageID #: 90025
   Highly Confidential - Subject to Further Confidentiality Review

    .1


     2        chargeback from the sale from the

     3        manufacturer to a distributor and then from

     4        a distributor to the distributor's

     5        downstream customer.

     6                     Do you recall that?

     7                A.   So I think what I was saying is

     8        because I haven't fully reviewed the sales

     9        data,    I don't know what would be possible.

   10         So that was -- I think I started making a

   11         statement but needed to clarify that.

   12         Because I haven't used this direct sales

   13         data and done this analysis, I don't know

   14         the answer.

   15                 Q.   Okay.     At this point, you're not

   16         aware of any information in the direct

   17         sales data that would enable you to trace a

   18         manufacturer's sale to a distributor, to

   19         then a distributor's sale to a downstream

   20         customer?

   21                 A.    I'm really not prepared to answer

   22         that either way right now.

                      Q.   So I was just asking if you're

   24         aware of any information at this point.

   25                 A.    I just -- I've reviewed the file

  Golkow Litigation Services                                              Page 354
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 62 of 73. PageID #: 90026
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        fairly quickly.        I'm just really not

     3        prepared to say what's in the file or what

     4        data points are there or what would be

     5        possible to review.          So I just am not

     6        comfortable with saying one way or the

     7        other what is possible or not possible.
     8               Q.    Oh, I understand.          I think my

     9        question is a little different.

   10                       It's simply, at this point in

   11         time sitting here today, if you are aware

   12         of any information that would enable you to

   13         trace manufacture's sale to a distributor,

   14         trace that order from the manufacturer to

   15         the distributor to the downstream customer?
   16                A.     So, again, the data that I used

   17         in my report was peculiar orders and

   18         chargebacks.       The data that's mentioned

   19         here that I've only briefly reviewed is

   20         sales.      So I can't offer an opinion or a

   21         statement at this time about sales.
   22                Q.     So what I'm trying to understand

   23         is that based on your review thus far,

   24         understanding that it's incomplete review

   25         of the Mallinckrodt direct sales data, if

  Golkow Litigation Services                                              Page 355
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 63 of 73. PageID #: 90027
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        there's any information that you've come

     3        across to date that would enable you to

    4         trace the manufacturer's sale to a

     5        distributor, to then the sale by the

     6        distributor to a downstream customer?
     7                     MS. CONROY:       Objection.       Apart

     8               from her report?

     9                     MR. GOLDSTEIN:        Based on her
   10                review of the Mallinckrodt direct sales

   11                data, which is --

   12                      MS. CONROY:       That's what you're
   13                your question is about, the

   14                Mallinckrodt direct

   15                      MR. GOLDSTEIN:        Correct.
   16                      MS. CONROY:       Okay.     Why don't you
   17                ask it again, then.
   18                       MR. GOLDSTEIN:       Correct.

   19                       MS. CONROY:      That's what's
   20                confusing.
   21                       MR. GOLDSTEIN:       Right.      So I

   22                understand the testimony to be that
   23                Ms. Keller can't say whether the direct

   24                sales data that Mr. Buthusiem reviewed
   25                would enable or would not enable

  Golkow Litigation Services                                              Page 356
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 64 of 73. PageID #: 90028
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2               someone to trace the order all the way
     3               from the manufacturer to the downstream
     4               customer.      And so that's where I'm
     5               going with that.

     6                     MS. CONROY:       Okay.

     7        BY MR. GOLDSTEIN:

     8               Q.    So would you like me to repeat

     9        the question?

   10               A.     Yes, please.

   11                Q.    So based on your review thus far

   12         of the Mallinckrodt direct sales data that

   13         Mr. Buthusiem cites in his report, do you

   14         have any -- are you aware of any

   15         information in that data that would enable

   16         you to trace a sale from a manufacturer, to

   17         a distributor, to then the downstream

   18         customer?

   19               A.      I mean, again, that is a very

   20         long chain that you've outlined here.                I

   21         would need to fully review it to make                    to

   22         make an actual assertation.

   23                       I mean, if there's NDC codes in

   24         there, that's where we would start.                But

   25         beyond that, I don't -- I'm not prepared to

  Golkow Litigation Services                                                Page 357
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 65 of 73. PageID #: 90029
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        talk about that right now.

     3               Q.     So I think I've asked this

     4        question about five times.

     5                     All I'm asking is what you're

     6        aware of today, not what you could ever

     7        possibly be aware of at some future point

     8        down the road.

     9                      So as far as, as you sit here

   10         today what you're aware of and not aware

   11         of, it sounds like you're not aware of any

   12         information that would enable you to trace

   13         an order from a manufacturer, to a

   14         distributor, to the downstream customer?

   15                       MS. CONROY:      Objection.

   16                A.     I'm not going to say aware or not

   17         aware because I haven't fully reviewed the

   18         data set.      If you want to pull it out, I'd

   19         be happy to look at it right now, but I

   20         don't remember what column headers are in

   21         there.      I don't know what fields are in

   22         there.      I just -- those are things that I

   23         would need to know to be aware or not aware

   24         and I just         I would be happy to look at

   25         it right now if you want to pull it up on a

  Golkow Litigation Services                                              Page 358
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 66 of 73. PageID #: 90030
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2        computer, but ...

     3               Q.     Sitting here today, you don't

     4        recall if you're aware or not of whether

     5        there is any information in that direct

     6        sales data that would change your analysis?

     7               A.     So sitting here,       I do not have

     B        the familiarity with the data set that

     9        would allow me to answer the question

   10         either way, that I am aware or unaware,

   11         because I would just have to look at the

   12         data set more closely to be able to answer

   13         the full question of being able to trace

   14         from here to here to here.

   15                Q.    Okay.     Well, let me move on and

   16         ask a slightly different question.               I think

   17         everyone is growing weary of that one.

   18                       If you turn to your report,

   19         paragraph 158.        It's on page 84.

   20                A.     Yes.

   21                Q.    And there, you reference roughly

   22         2,900, I think if you look at table 74,

   23         it's 2,860 peculiar orders, or to be clear,

   24         orders that Mallinckrodt had deemed

   25         peculiar based on its own monitoring system

  Golkow Litigation Services                                              Page 359
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 67 of 73. PageID #: 90031
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                      MS. CONROY:      Objection.

     3                A.    How they were shipped, like what

     4        was the method that they arrived in Summit

     5        County?

     6                Q.    Yes.    They were shipped there by

     7        a distributor into Summit or Cuyahoga

     s        County.

     9                      Is that your opinion?

   10                 A.    I guess I don't really understand

   11         the question.        I'm sorry if I'm -- I'm not

   12         trying to be obstinate.           I just don't

   13         understand.      Are you asking me -- I just

   14         don't understand quite what you're asking

   15         me.

   16                 Q.   What I'm getting at is that, once

   17         a, once product is shipped               I'll start

   18         over.

   19                       Do you have an understanding of

   20         whether distributors that receive products

   21         from manufacturers typically hold inventory

   22         of the product that they are purchasing

   23         beyond the single order that was purchased?

   24                 A.    I have no expertise in what the

   25         inventory practices are of distributors.

  Golkow Litigation Services                                              Page 365
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 68 of 73. PageID #: 90032
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2                Q.    So you don't know if, for

     3        example, if a distributor purchases

     4        places an order with Mallinckrodt for one

     5        of its products, you don't know if -- and

     6        Mallinckrodt ships it to that distributor,

     7        the product that was purchased, you don't

     8        know if the distributor would have other of

     9        Mallinckrodt's products already in its

    10        inventory at the time it places that order?

    11                A.    Correct.      I'm not an expert in

    12        supply chain, nor am I an expert in

    13        distributor LIFO or any of their practices

    14        there, nor do I -- you had another point in

   15         there, but, no, that would be outside of my

   16         expertise.      Actually, nor was I given data

    17        on those practices.

    18                Q.    Okay.    And if a distributor at

    19        the time it placed an order that the

    20        distributor deemed            that that -- strike

    21        that.

    22                      If a distributor in its inventory

    23        had product from Mallinckrodt that was

    24        purchased via multiple orders

    25                      Are you with me so far?

  Golkow Litigation Services                                              Page 366
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 69 of 73. PageID #: 90033
   Highly Confidential - Subject to Further Confidentiality Review

     1


     2        that's what's stated here.

     3               Q.     Okay.    The next sentence says,

     4        ''The chargeback data submitted with respect

     5        to any eligible distributor to downstream

     6        registrant sale does not delineate which

     7        specific distributor to manufacturer order

     B        relates to the chargeback. 11

     9                      Do you have any reason to

   10         disagree with that statement?

   11                       (Document review.)

   12                A.     I don't understand what the word

   13         ''eligible'' means, so I don't really know if

   14         I   can agree or disagree with this.

   15                       And it's also referencing sales

   16         data that, again, we've discussed earlier

   17         that I haven't reviewed fully.

   18                Q.     So let me break that up.           I'll

   19         represent to you that eligible distributor

   20         to downstream registrant sale simply means

   21         a sale for which a chargeback was issued.

   22                A.     Sure.

   23                Q.     A chargeback eligible sale.

   24                       Okay.    Does that make sense?

   25                A.     Sure.

  Golkow Litigation Services                                              Page 393
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 70 of 73. PageID #: 90034
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2               Q.     Okay.    Now based on the data that

     3        you've reviewed to date and as you sit here

     4        today, do you have any reason to disagree

     5        with the sentence that I just read?

     6               A.     And I just assume that there is

     7        an order number, an order ID in both data

     s        sets, is there?

     9               Q.     You assume that there is an order

   10         ID in both sets of what?

   11                A.     Of both the chargeback data and
   12         the sales data.

   13                Q.     That is the same order ID, is

   14         that what you're saying?

   15                A.     I would think that that exists.

   16                Q.     Okay.    And so if that is the

   17         case        sorry.    If that is not the case,

   18         then you would not be able to delineate

   19         which specific distributor to manufacturer

   20         order relates to the chargeback?
   21                A.     I mean, I'd have to look at the

   22         data sets again to see whether or not I

   23         could trace it or not.           Again, you're

   24         asking me look at data I haven't fully

   25         reviewed.

  Golkow Litigation Services                                              Page 394
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 71 of 73. PageID #: 90035
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                Q.   Sure?

     3                A.   Okay.

     4                Q.   Chargeback data is submitted for

     5        one of those orders.

     6                A.   Sure.

     7                Q.   Are you aware of any information

     s        in the chargeback data that identifies

     9        which order of the two orders in the

   10         distributor's inventory that chargeback

   11         data pertains to?

   12                 A.   So the -- I will say what I know

   13         that exits in the chargeback data.               I can't

   14         talk about the inventory system of the

   15         distributor.

   16                      The chargeback has an NDC number,

   17         the distributor that shipped it or that

   18         submitted it,      I should say, to be most

   19         correct, as well as an order number and a

   20         date.

   21                 Q.   And is it your understanding that

   22         the NDC code that's included pertains to

   23         the product that's being shipped?

   24                 A.    I would understand the NDC to be

   25         the product, yes.

  Golkow Litigation Services                                              Page 396
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 72 of 73. PageID #: 90036
   Highly Confidential - Subject to Further Confidentiality Review

    1


    2                Q.   And not a particular order that's

    3        being shipped?

    4                A.   I think you could characterize

    5        the NDC is part of a larger order.

    6                Q.   I'm not sure I follow.

    7                     The NDC relates to the type of

    8        product that's being shipped?

    9                A.   So I have seen the data, have an

   10        order number,       let's say one, two, three,

   11        four,    five,   have as part of it, and this is

   12        a hypothetical, but I've seen real examples

   13        of the data, an order for -- the same order

   14        number also have oxycodone, morphine and a

   15        hydrocodone product as part of that whole

   16        order.

   17                Q.   And that's all under the same NDC

   18        code?

   19                A.   No, different NDC codes folded

   20        underneath one order.

   21                Q.   Okay.     But understood the NDC

   22        order only pertains to the product that's

   23        being shipped?

   24                A.   Yes.     I think we've talked about

   25        that.

  Golkow Litigation Services                                          Page 397
Case: 1:17-md-02804-DAP Doc #: 1914-3 Filed: 07/19/19 73 of 73. PageID #: 90037
   Highly Confidential - Subject to Further Confidentiality Review

     1

     2                          C E R T I F I C A T E

     3


     4        STATE OF NEW YORK

     5                                     ss.

     6        COUNTY OF WESTCHESTER

     7


     8                      I, ANNETTE ARLEQUIN,        a Notary

     9                Public within and for the State of New

   10                 York, do hereby certify:

   11                       That LACEY R. KELLER, whose

   12                 deposition is hereinbefore set forth,

   13                 was duly sw.orn by me, and that the

   14                 transcript of such depositions is a

   15                 true record of the testimony given by

   16                 such witness.

   17                       I further certify that I am not

   18                 related to any of the parties to this

   19                 action by blood or marriage; and that I

   20                 am in no way interested in the outcome

   21                 of this matter.

   22                       IN WITNESS WHEREOF, I have hereunto

   23                 set my hand
                              _,,..--., this 14th day of June, 2019.

   24                         (,·: . ;r-----
   25                    ANN✓• ARLEQUIN, CCR, RPR, CRR, RSA
  Golkow Litigation Services                                              Page 401
